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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 16 -20897-CR-SEITZ


   UNITED STATES OF AMERICA

                  v.

   PRINCESS CRUISE LINES, LTD.,

                     Defendant.
   ________________________________/


                               GOVERNMENT’S STATUS REPORT

          The United States, by and through undersigned counsel, respectfully submits this status

   report in anticipation of the Court’s hearing scheduled for June 19, 2019.

          This status hearing marks the end of the second year of the defendant’s five year period of

   probation and the submission of annual reports by Court Appointed Monitor (“CAM”)[D.E.-150]

   and Third Party Auditor (“TPA”)[D.E.-153]. This is also the first quarterly report since the

   defendant’s admission of violations of probation and settlement agreement imposing additional

   conditions of probation and an additional criminal fine of $20,000,000.

   I.     The 2nd Annual CAM Report

          There is much good news in the CAM report. It recounts a large variety of significant

   efforts being made within Carnival and its brands to improve environmental compliance. These

   are to be fully credited. At the same time, the CAM appropriately places these positive

   improvements in the fuller context of serious violations of probation. Most importantly, the CAM

   found that leadership and corporate culture were the primary obstacles to creating a sustainable

   compliance culture. The CAM focused on two unresolved barriers.

          First, the CAM criticized the “tone at the top” and concluded that the failure to prioritize
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   environmental compliance was a leadership failure that was the root cause of the probation

   violations, including the failure to provide the Corporate Compliance Manager with the requisite

   authority and resources necessary to implement the Environmental Compliance Plan (ECP). The

   Company has now admitted to this failure. However, this admission came begrudgingly, and only

   after the Office of Probation filed a petition to revoke probation, after the Court announced it was

   considering banning Carnival vessels from U.S. ports, and after the Court ordered that the

   Chairman of the Board, Chief Executive Officer, and Chief Finance Officer must attend the last

   hearing. Obvious in the way it conducts its highly successful business operations, Carnival is fully

   capable of the effective centralized planning, goal setting, and organizational commitment

   necessary to prioritize compliance and environmental stewardship. We look forward to seeing

   Carnival begin to prioritize environmental compliance in the same manner as it does serving its

   customers and safely navigating from point A to point B. The CAM is correct to target top

   leadership and corporate culture as the most significant barriers to a sustainable compliance

   culture.

          Like the CAM, the government has observed the company’s tone deaf response to the

   conviction (press release and statements blaming it on a “few” bad apples), its opposition to the

   CAM and TPA conducting unannounced ship visits/audits, the CEO’s minimalist treatment of the

   conviction and ECP in a video message, the first and second undisclosed pre-audit programs, its

   public statement to the Miami Herald in response to the Court’s comments at the hearing on June

   4, 2019 (initially blaming it on someone misinforming the Court), and, most recently, the difficulty

   in drafting the required statement accepting leadership responsibility for the probation violations.

   Though the top three officers were present at the last hearing because their presence was compelled

   by Court order, only the Chief Executive Officer spoke, and he only spoke after the Court



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   effectively required him to do so. Despite his mandated attendance, the Chairman of the Board did

   not address the Court and made no public statement. In view of the context and reasons for the

   hearing, the government remains concerned.

          Second, the CAM found that continuing environmental and ECP violations continue to be

   a major problem. During the second year of probation, Carnival continued to violate environmental

   laws and the ECP, including numerous probation violations. One of those problems concerns the

   overboard discharge of plastic and other non-food waste. As the Court has expressed, it is

   disconcerting to learn that Carnival did not have a better handle on this problem prior to the ECP.

   As we have learned, Carnival has simply accepted routine and illegal discharges in violation of

   international law as part of “normal” ship operations. The result has been to leave the company’s

   destinations worse off. Because the harm posed by plastic in the marine environment is apparently

   not fully appreciated, the Government’s Status Report will provide some additional background.

   See infra. Other prohibited discharges have occurred and are summarized in the CAM report. See

   pp. 93-97, 98-99.

          As the Court has often observed, some violations of probation were bound to occur in a

   company of this size and activity. The government appreciates the way in which the CAM has

   examined these issues in its report by focusing on those issues that reflect a management failure

   and/or were in some other way extraordinarily serious (e.g., the discharge of grey water from the

   Westerdam in Glacier Bay National Park, the discharge of garbage containing plastic from the

   Carnival Elation).

          In reviewing the Second Annual Report of the CAM, the government is struck by the

   helpful contribution of the CAM to the Court, the Office of Probation, the government, and, yes,

   to the defendant. It has helped to illustrate in a case of this magnitude how difficult it would have



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            Notably the reports for both years found significant shortcomings in the area of “Policies

   and Procedures” with the failure to update incomplete, vague, and non-existent policies continuing

   into the second year – a short-coming compounded by instances of personnel simply not abiding

   by procedures that were in place. The Company’s reliance on a partially implemented incident

   reporting system as a future solution to shortfalls in the collection and evaluation of HESS related

   information seems somewhat problematic in light of the commentary by the TPA that procedural

   defects identified in year one persisted through the end of year two. Enacting and implementing

   curative procedures seems to be a leadership issue, less than an informational gap.

            Within the “Vulnerabilities” assessment, it is clear that the systems for control of critical

   valves and installations by environmental seals remained inconsistent across the brands and not in

   compliance with the ECP. This issue has been a recurrent theme in vessel Audit Reports throughout

   year two, and is reflected in part, in the TPA report note that Environmental Control System non-

   conformities and observations accounted for 38 audit discrepancies over the year-long period. This

   implies that on average, every ship visited had one or more of such violations of the ECP and

   consistency was lacking even amongst vessels of a single operating line. See D.E.-153, Section

   3.1.3.

            The recent amendments to the ECP referenced in the Company’s Response, D.E.-151 at 4,

   appears to be the central element of their effort to address this area of concern by establishing a

   new training program to “make sure that the ECS is correctly implemented and maintained.” The

   fundamental problem in the past was the company’s internal, strained “interpretation” of the clear

   language of the ECP regarding acceptable control methods. The government is aware that efforts

   have been underway to design a comprehensive solution to this issue and awaits the results of that

   effort. It is believed that a successful resolution should be apparent within just a few vessel audits.



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   The government intends to monitor this area closely as the third year of probation progresses.

            “Waste Management,” as briefly addressed, supra, is an area that has been categorically

   ignored by the Company. The Company, in its Response, D.E.-151 at 4, acknowledges that this

   issue has been identified by the TPA as a “critical area of risk.” The Company goes on to suggest

   that vessel design features, signage, and training explain the woeful performance of its fleet in

   dealing with waste disposal issues. A more thorough consideration of this entire issue appears,

   infra.

            “Pollution Prevention” and Corrective & Preventive Action,” as report categories, should

   be considered in a unitary fashion. The inability to make greater strides in reducing discrepancies

   associated with the on-board pollution prevention equipment is an artifact of the Company’s

   enduring failure to implement an efficacious Root Cause Analysis (RCA) program that properly

   assesses failures, develops sound preventive action plans against recurring and systemic problems,

   and eliminates or reduces future non-conformities.

            During the first two years of probation, the TPA has found that failure of required Pollution

   Prevention Equipment was the most prevalent cause for findings of Major Non-conformities. See

   D.E.-153, Section 3.2.5. The Company’s statement that it now “intends to conduct a full-review

   analysis” of the relevant equipment speaks volumes about the insufficiency of its RCA program

   that over the course of two years – and presumptively before the imposition of probation – has yet

   to generate preventive action ashore or on the vessel to address these problems.

            The salient conclusion from the TPA’s efforts throughout year two of probation is that are

   corrective and preventative action measures have been and remain deficient, and that the lack of

   verifiable commitment by senior management remains a major concern in improving ECP

   compliance. That conclusion closely mirrors the expressed views of the 2nd Annual CAM Report.



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          To address the continuing concerns recognized in the Year Two Annual Report, the TPA

   has identified the areas where they intend to place significant focus in the coming year:

          •     Failure of Pollution Prevention Equipment
          •     Waste Management aboard ships
          •     Waste Management Vendors ashore
          •     Corrective and Preventive Actions
          •     Training platform GLADIS
          •     Investigation Program

          These “priority” areas comport very closely with the conclusions the United States has

   drawn from the pair of Second Annual Reports, the experience gleaned from the recently

   concluded probation violations proceedings, and its independent assessment of the vessel and

   shore-side audit reports. The government, as well, will be looking for quantifiable improvement

   in these areas over year three of probation.

   III.   Special Condition 13

          As part of the recent settlement of probation violations, the Court imposed new reporting

   requirements. These were necessary because the government had found that numerous significant

   violations of probation were not being reported to the Office of Probation and/or the United States

   as a result of Carnival’s interpretation of the ECP and the Court’s original Judgment &

   Commitment Order.

          Pursuant to Exhibit B of the settlement agreement [D.E.-134], the defendant is required to

   provide notification of searched “breaches of compliance.”

          13)      Required Notification — Breach of Compliance:

          a)       The defendant organization is to inform the Interested Parties, CAM, and TPA of
                   any:

                   i)     breach of the ECP;

                   ii)    breach of the plea agreement;

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                  iii)   violation of the conditions of probation;

                  iv)    violation of any Marine Environmental Protection Requirement;

                  v)     violation of any applicable United States (federal or state) environmental
                         law;

                  vi)    violation of the Ballast Water Convention, the London Dumping
                         Convention, or any future maritime environmental law convention to
                         which the United States becomes a party and which goes into effect during
                         the period of Princess’s probation; or

                  vii)   credible allegations, to include any Environmental Open Reports,
                         involving a violation of the ECP or any Marine Environmental Protection
                         Requirement or applicable international, flag state, port state, coastal state,
                         or United States (federal, state or local) environmental law involving any
                         Covered Vessel or Covered Personnel (as defined in the ECP) as soon as
                         reasonably practicable but no later than seven days of when the defendant
                         organization learns of the occurrence. The notification shall include a
                         description of the nature, date and time, and location, including the
                         country, of the breach of compliance or violation.

          On June 28, 2019, in advance of the deadline set forth in Special Condition 13, the

   defendant submitted for approval a proposed process, including criteria for determining which

   incidents to report and how they would be reported. We have now had the benefit of a month of

   Carnival’s reporting under the new system. Evidently Carnival is reporting what is required, but it

   is impossible to tell, because it is reporting numerous irrelevant and unreportable incidents. The

   proposed policy does not track the aforementioned categories or indicate which category is

   implicated by each entry. Among other things, Carnival’s submissions include “near misses”

   which Carnival has defined as “an event or situation that could have resulted in a HESS Event, but

   did not, either by chance, through timely intervention or because preventative measures were in

   place.” Letter dated June 28, 2019.

          In the last month, Carnival has sent an email to the Office of Probation, the CAM, the TPA,

   the government, and Carnival’s defense counsel virtually every day. Each email states: “Pursuant

   to Special Condition No. 13 of the Judgment, the attached report details possible breaches of

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   compliance and other Company reportable items.” Whereas the government sought accurate and

   timely reporting of actual violations of law, violations of probation, and violations of the ECP, it

   is now receiving daily reports of a large number of other matters, many of which are at best “near

   misses,” but not reportable violations pursuant to Special Condition 13. Recent submissions to the

   Court and interested parties have trivialized the Court ordered reporting requirement by including

   the following:

           “During the weekly grease tanks inspection, a condom was found in grease
            tank#2 and removed.” Carnival Sensation (June 7, 2019).

           “While the Grand Princess was enroute towards San Francisco, USA a guest
            noted that a gust of wind blown a deck chair cushion overboard. The guest
            informed the Deck Supervisor, who [found] the cushion on the lower deck,
            Promenade Deck 7. The Cushion was recovered and secured.” Grand Princess
            (June 13, 2019).

           “While the ship was alongside in Galveston, Texas, a pallet containing bags of
            onions broke during provision loading and 13 bags of onions fell onto the net
            underneath the loading platform. One bag containing onions fell into the sea.
            All the bags were recovered including the bag that fell into the sea. None of
            the onions were left in the water.” Carnival Vista (June 15, 2019).

           “While the Noordam was cruising in Glacier Bay, AK at approximately 11:15
            a crew member observed some guests throwing a piece of bread from a balcony
            on Deck 4 Port Aft, into the water. Seagulls then ate the piece of bread. ADEC,
            USCG, and Park Services will be informed. An entry has been made in the
            Garbage Record Book.” Noordam (June 28, 2019).

           “While the Sea Princess was alongside in Portland, UK at 16:00 approximately
            0.5 liters of hydraulic oil leaked from the Hydraulic pipe of the Starboard side
            Officer’s platform. While moving materials in the area, the hydraulic pipe was
            accidentally hit, causing it to break. The deck was cleaned with absorbent pads.
            No oil went into the sea during the event. The damaged pipe was replaced with
            a new one.” Sea Princess (July 10, 2019).

           “On 10 July 2019 at 00:01hrs, [a] security officer on duty was informed that a
            guest threw a white object overboard. Upon enquiry it was found that a guest
            was eating a pizza on the balcony, while doing that a slice of pizza accidentally
            slid from the plate of the guest and fell overboard.” Carnival Miracle (July 10,
            2019).



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          With the benefit of this experience, the defendant needs to revise its proposed policy to

   comply with Special Condition 13, and to more narrowly track the applicable criteria. The

   government stands ready to assist in this process. While a meaningful near miss reporting system

   is vitally important to identify the root cause(s) of weaknesses and to avoid more serious incidents,

   it is not what the Court ordered. Near misses have been reported to the CAM and TPA through

   internal Flash Reports. But reporting of every near miss to the Court and the government does not

   advance the supervision of this defendant’s probation, but rather, has the potential to obscure

   serious violations of law. Due to the volume of extraneous information, the daily reports are not

   actually appropriate or helpful in monitoring the probation of this criminal defendant.

   IV.    Carnival’s Plastic Pollution Problem

          Count 5 of the Petition to Revoke Probation was based on a TPA finding from an audit

   conducted from December 13-17, 2018, after plastic and other non-food items were discharged

   overboard from the Carnival Elation in Bahamian waters, notwithstanding that the problem had

   been pointed out by the TPA. A Supplemental Audit of the ship in February 2019 found that plastic

   was still not being properly segregated. See CAM Annual Report at 86-87; CAM April 2019

   Quarterly Report at 18-23.

          As the government explained at the last hearing, the MARPOL violation involving the

   Carnival Elation is representative of a much more widespread problem. Many similar problems

   have been identified by the TPA and by the CAM which have caused Carnival to begin monitoring

   and cataloguing similar problems across the fleet. Since April 24, 2019, Carnival has reported

   more than 300 similar incidents on Covered Vessels across its fleet. Every ship and every Carnival

   brand cruise line is implicated.

          On July 9, 2019, the TPA circulated a new audit report for the Carnival Breeze reflecting



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   an audit conducted May 11-15, 2019. This audit found three major non-conformities, all related to

   compliance with MARPOL Annex V. The auditors conducted a visual inspection of the ship’s

   galley grey water drain tank and found non-food items floating on its surface, including plastic

   items. The audit concluded that these items were being washed down the deck drains of the galleys

   because the covers had been removed from the drains. The fact that approximately 28 drain bells

   and 137 screws were missing, allowing the non-food waste to pass, was cited as a major-

   nonconformity, as was the finding of non-food waste and plastic inside the grey water tank. Grey

   water is discharged overboard without treatment on Carnival ships. A third major non-conformity

   was cited because numerous non-food waste items including some plastic were found in the

   shredder/pulper and mixing tank/food waste tank of the Carnival Breeze.

           A review of recent reports reveals that the plastic and non-food waste items found inside

   of food waste containers destined for overboard discharge included the following: plastic bags,

   water bottles, straws, stirrers, bottle caps, latex gloves, coffee cup lids, aprons, food label stickers,

   pens, shrink wrap, film wrap, candy wrappers, plastic cutlery, metal cutlery, foil, garbage bin

   liners, coffee capsules, cake icing cone tip, packaging, individual sauce packets, milk and other

   food sachets, and pieces of plastic from various items. The large number of incidents involving

   the discovery of plastic and other non-food waste in various stages of the ship food waste systems

   leads to the inevitable but unfortunate conclusion that for many years the normal operation of

   Carnival vessels has resulted in the routine discharge of plastics into the marine environment in

   violation of MARPOL Annex V.

           As mentioned in the government’s factual basis in support of the probation violations,

   Carnival has long been on notice regarding MARPOL Annex V issues. In addition to the fact that

   MARPOL Annex V entered into force in 1988, Princess was convicted in 1993 in the Southern



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   District of Florida of a felony violation of the Act to Prevent Pollution from Ships related to the

   deliberate overboard discharge of plastic bags. As mentioned in the CAM’s report, the recent

   violations should not have come as a surprise to senior management because numerous employees

   identified plastic and other non-food waste being co-mingled with food waste as a problem in the

   DuPont Fleet Engineering Survey commissioned by the Company. See CAM Second Annual

   Report, at 88; Carnival Corp Engineering Survey Final Comments and Suggestions (Feb. 2018).

   Carnival’s own engineers suggested during the DuPont Survey that Carnival should minimize the

   use of plastic, minimize food waste, and find better technology and procedures.

          In 2014, there were an estimated 5.25 trillion plastic particles in the world’s oceans,

   weighing 269,000 metric tons, 2 but this could be a severe underestimate. 3 By 2025, if plastic

   production and consumer negligence remain unchanged, for every three metric tons of fish in the

   ocean, there is expected to be one metric ton of plastic. 4 By the year 2050, the weight of plastic is

   expected to well exceed the weight of fish in the ocean according to some accounts. 5

          Marine debris, primarily plastic, is known to impact approximately 700 living species from




   2
     Walker, Tony R. and Dirk Xanthos, “International policies to reduce plastic marine pollution
   from single-use plastics (plastic bags and microbeads): A review,” (15 May 2017), 17-26
   (available at: https://doi.org/10.1016/j.marpolbul.2017.02.048).
   3
    Eriksen, Marcus, et. al, “Plastic Pollution in the World's Oceans: More than 5 Trillion Plastic
   Pieces Weighing over 250,000 Tons Afloat at Sea,” (10 Dec 2014) 1-15 (available at:
   https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0111913).
   4
     Andrady, Anthony L., “Microplastics in the Marine Environment,” (Aug 2011) 1596-1605
   (available at: https://doi.org/10.1016/j.marpolbul.2011.05.030).
   5
    CNN, Gerretsen, Isabelle, “You could be swallowing a credit card’s weight in plastic every
   week”, (June 17, 2019) (summarizing recent studies) (available at:
   https://www.cnn.com/2019/06/11/health/microplastics-ingestion-wwf-study-scn-intl/index.html).


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   coastal vegetation, to plankton, invertebrates, fish, cetaceans, sea turtles and seabirds. 6 Balloons, 7

   plastic bags, bottle caps and utensils are known to be particularly harmful when ingested, leading

   to starvation, suffocation, infection and death. 8 Entanglement can inhibit the normal growth and/or

   mobility of marine wildlife and result in physical harm and death. Virtually all species of marine

   wildlife, many of which are threatened or endangered, including seabirds, mammals, sea turtles

   and fish are known to ingest plastic. 9 Plastic pollution in the ocean is of epidemic proportions and

   has the potential to threaten the health of the ocean, coral reefs, food safety and tourism. 10

   Nanoplastic particles and toxins from ingesting plastic have also been found to cross the blood-

   brain barrier, causing harm to organisms’ reproductive and immune health and are believed to be



   6
    See, e.g., Gall SC, Thompson RC. 2015. The Impact of Debris on Marine Life. Marine Pollution
   Bulletin 92:170–179 (available at: https://doi.org/10.1016/j.marpolbul.2014.12.041); Reddy, S,
   Plastic Pollution Affects Sea Life Throughout the Ocean (2018) (available at:
   https://www.pewtrusts.org/en/research-and-analysis/articles/2018/09/24/plastic-pollution-affects-
   sea-life-throughout-the-ocean).

   7
    In an apparent violation of probation shortly after sentencing in this case, Princess cruises
   celebrated the maiden voyage of the Majestic Princess with the mass release of balloons. See
   Cruise Law News (July 4, 2017) (available at:
   https://www.cruiselawnews.com/2017/07/articles/cruise-pollution/princess-cruises-causes-
   uproar-with-balloon-release/) (last viewed July 18, 2019).
   8
    See, e.g., Wilcox C, Mallos NJ, Leonard GH, Rodriguez A, Hardesty BD. 2016. Using expert
   elicitation to estimate the impacts of plastic pollution on marine wildlife. Marine Policy 65:107-
   114 (available at: http://dx.doi.org/10.1016/j.marpol.2015.10.014; see also World Wildlife Fund,
   “No Plastic in Nature: Assessing Plastic Ingestion from Nature to People,” (2019), 1-17.
   9
     See, e.g., Gregory, M, “Environmental Implications of Plastic Debris in Marine Settings”
   (2009) (available at: https://royalsocietypublishing.org/doi/full/10.1098/rstb.2008.0265).
   10
     See e.g., https://www.unenvironment.org/news-and-stories/story/marine-plastic-new-and-
   growing-threat-coral-reefs; https://oceana.org/our-campaigns/plastics;
   https://www.iucn.org/resources/issues-briefs/marine-plastics;
   https://www.pewtrusts.org/en/research-and-analysis/articles/2018/09/24/plastic-pollution-affects-
   sea-life-throughout-the-ocean; https://agua.org.mx/wp-content/uploads/2017/11/The-pollution-
   of-the-marine-environment-by-plastic-debris-a-review.pdf (all last viewed April 4, 2019).


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   responsible for behavior disorders in certain fish. 11

             As previously documented, the Company’s initial reaction to the violation of probation by

   the Carnival Elation was to blame the lowest level employees with failing to sort through tons of

   food waste to find plastic. This begs the question of whether more could be done to limit the use

   of single use plastic on board Carnival’s floating cities. Certainly one obvious answer is to ban or

   dramatically reduce the types and quantities of single use plastic. It is apparent that prior to the

   current effort, Carnival did not actually know the universe of single use plastic on board its vessels.

             Based on the government’s discussions with the CAM and TPA teams, it is also apparent

   that Carnival does not know if the plastic garbage offloaded in port is being properly disposed.

   Some of the Company’s destinations may lack the infrastructure and oversight to ensure proper

   handling. The volumes are considerable. For example, the recent TPA audit report of the Carnival

   Breeze found that vessel disposed of 452 cubic meters of plastic waste in a 3-month period in

   2019. It is our expectation that part of Carnival’s new work in this area also will include

   consideration of where it disposes of its waste and the vendors it utilizes, so it can ensure that the

   waste is being handled properly from cradle to grave.

             The use of certain single use plastic products such as plastic straws and plastic bags have

   been banned by many governments and corporations in the United States and elsewhere. 12 These

   products remain in use on Carnival vessels. Royal Caribbean announced last year that it would

   eliminate the use of plastic straws and stirrers by the end of 2018. Hurtigruten, a small specialty

   cruising company, announced that it had eliminated plastic straws, drink mixers, plastic glasses,


   11
     See Mattsson K, Johnson EV, Malmendal A, Linse S, Hansson L-A, Cedervall T. 2017 (Brain
   damage and behavioral disorders in fish induced by plastic nanoparticles delivered through the
   food chain) Scientific Reports 7:11452 | DOI:10.1038/s41598-017-10813-0.
   12
        See http://plasticbaglaws.org/ (last viewed July 17, 2019).

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   coffee lids, and plastic bags from all of its ships in 2018. 13 Prior to its single-use plastic ban,

   Hurtigruten’s small fleet annually consumed 6,200 pounds of plastic straws, 11,000 pounds of

   plastic cups, 1,800 pounds of single-use butter packages, and 9,500 pounds of plastic aprons. 14

              The government does not know what approach makes the most sense for Carnival, but it

   certainly appears that after years of being on notice, the company did not engage in a

   comprehensive and serious approach to addressing waste management and plastic pollution until

   faced with the Petition to Revoke Probation. Going forward, the government seeks to confirm that

   the defendant knows the universe of single use plastic products it utilizes, the volumes purchased

   per ship/fleet, the volume of plastic disposed ashore, and that shore side disposal and recycling are

   being handled in a legal and responsible manner.

                                         Respectfully submitted,


                                         ARIANA FAJARDO ORSHAN
                                         UNITED STATES ATTORNEY


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                                                 Senior Litigation Counsel
                                                 Environmental Crime Section
                                                 U.S. Department of Justice
                                                 601 D. Street, NW
                                                 Washington, DC 20004
                                                 Tel: (202) 305-0361


   13
     See https://www.hurtigruten.com/us/press-releases/2018/hurtigruten-wages-war-on-plastic-
   bans-single-use-plastic-by-this-summer/ (last viewed July 17, 2019).
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        Id.
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 18, 2019, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF.

                                               s/ Thomas A. Watts-FitzGerald
                                               Assistant United States Attorney




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